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(Rev, 01/21) Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT

for the

Western District of New York

Case No. 2S CV 43 TO

(to be filled in by the Clerk's Office)

Cl Asmar LBZ wWa/

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
Ifthe names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-\y-

JURY TRIAL: Yes X No

ew EC TAWA — DON THorP Sop
Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
wrile “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

ee NN Ne eae es

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should no¢ contain: an individual's full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number,

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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I; The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

All other names by which

reese ae bs Ga #. AUX)

you have been known:

ID Number CICK o ie

Current Institution . YATES Co IAL y JAZ
Address ee Ff MADY S7—
PAW Yay NY IVF2R
City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if own) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |
si YouseS Taua
Job or Title (if known) ATIDENEY fAT (Aw
Shield Number ALLA, /
Employer
Address L@ ta). gun S7— X76 ZYS
Foche Ser RY LVS
City State Zip Code
Individual capacity fficial capacity
Defendant No, 2
Name Dw tHamPpSon
Job or Title (if known) s ‘) Sik
Shield Number MLA

Employer

co MY LAG

Address bo UD) WIM SJ Sar¥e ZY3
Lob ssher~_

City State Zip Code
[] Individual capacity [| Official capacity

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Defendant No, 3
Name
Job or Title (ifknown)
Shield Number
Employer
Address

City State Zip Code
[J Individual capacity [| Official capacity

Defendant No. 4
Name
Job or Title (if known)
Shield Number

Employer
Address
City State Zip Code
[ Individual capacity [ Official capacity
IL. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcatics, 403 U.S. 388 (7971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):

LJ Federal officials (a Bivens claim)
yd State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

i Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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II,

Wooo WK

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law, Attach additional pages if needed.

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Prisoner fee

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee

Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

Other (explain) “lO ANS ywoaittines es oa hy Psa

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.
Court Kooi
B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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Cc What date and approximate time did the events giving rise to your claim(s) occur?
7-70Z7.  — Y-7 O24
D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

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V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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VI. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VIL. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (““PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are

exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies. ~

s

A. Did yeur claim(s) arise while you were confined in a jail, prison, or other correctional facility?
Ke
&

[| No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

| Yes
[| No

[| Do not know
nest Zolosont

GC: Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[] Yes
[-] No

[| Do not know

If yes, which claim(s)?

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D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

[] Yes

— en

é

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[| Yes
fe No

E. If you did file a grievance:

1. Where did you file the grievance?

2. What did you claim in your grievance?

3, What was the result, if any? .

4, What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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F, If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
adininistrative remedies.)

VIL Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

[ Yes

No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
[ Yes
j
0
B. If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (Jf there is

more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1, Parties to the previous lawsuit
Plaintifi(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5, Approximate date of filing lawsuit

6. Is the case still pending?

[J Yes
[| No

If no, give the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?) ,

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IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

| agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served, I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: FS = 46 SOS

Signature of Plaintiff Voy

Printed Name of Plaintiff LEA VL: BLOWN

Prison Identification # Day, oe

Prison Address YATES Chats Jas Sf oer iufa ST
ALY CLBZ,%

City State Zip Code

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code

Telephone Number
E-mail Address

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FIELD CASE REPORT

. , CRe
GREECE POLICE DEPARTMENT 2022-00032225

NARRATIVE

NARRATIVE

On 05/27/2022 at approximately 1455 hours, (A)Clayton Brown selected the listed merchandise. (A)
passed the final points of sale and exited the store with the merchandise. (A) fled through the parking
lot on foot, carrying the merchandise in his hands.

Upon police arrival, an employee told Officer Drayn the male was running towards World Gym in the
Greece Ridge Mall parking lot. Officer Drayn and R/O responded to the area and observed (A) running
in the parking lot. Both Officer Drayn and R/O gave (A) verbal commands to stop. (A) continued to
run. R/O ran after (A) and attempted to grab (A) by the shoulders. {A) attempted to evade R/O and
R/O tackled (A). R/O and (A) both went to the ground. Officer Drayn and R/O were able to take (A)
into custedy without further incident. See R/O's Subject Resistance Report.

A Dick's employee responded and collected the clothing. R/O made contact with (PK)Craig Alexander
(ASM) of Dick's Sporting Goods to complete the Petit Larceny Information against (A). According to
(PK), Dick's does not prosecute if the merchandise is recovered. As a result, (A) was not charged for
Petit Larceny.

Lieutenant Potter and Sergeant Elmore responded to the scene. Officer Tymoch responded for Tech
Work, see Officer Tymoch’s Tech Report.

(A) was arrested for Obstruction of Governmental Administration 2nd. (A) was processed at
Headquarters and issued an Appearance Ticket with a future court date of 06/28/2022 at 1700 hours.

ORPLE TI PER LSI FR BAeCe pa

Eichas, Daniel GRE1399 05/27/2022 | Elmore, Andrew 05/27/2022

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State of New York

| Denise Brown swear that the contents of this affidavit signed by me under oath and
affirmation of belief and personal knowledge that the following matters, facts and things set
forth are true and correct to the best of my knowledge.

On or around June 8, 2022, | called attorney Donald Thompson with Easton Thompson Kasperek
Shiffrin, LLP. We spoke on the phone about my son Clayton Brown’s parole violation matter. He
was interested in representing Clayton and asked his name, birthday and county where
incarcerated. | provided ail the information and was told he would get in touch after doing
some background investigation. Mr. Thompson called back asking for my availability for a
conference and that he spoke with the DA and was told if Clayton took an 18-month parole
violation hit then he would lower the felony charge to a misdemeanor which would carry a 6-
month sentence. | agreed to meet for a conference and on 6/11/22 got a text message from Mr.
Taha, an associate of the law firm, stating he would see me @12:30 on 6/12/22.

6/12/22 | retained the law firm and Mr. Taha as counsel. Again, | was told that the DA was
willing to drop the criminal charges from a felony to a misdemeanor with an 18-month parole
violation plea and new charges to run concurrent to parole.

6/21/22 Clayton Brown pleads to 18-month parole revocation violation in Yates County.

From the beginning of August through the beginning of February there were several text
messages between Mr. Taha and | discussing the pending case with no indication that the
charges wouldn’t be lowered. Assuring me that things were moving in the right direction (A
local offer with no more time).

2/15/23 Clayton appears in Yates County court for his criminal charges. He is offered a plea deal
of 2-4 years on felony charges to run consecutive to the parole violation of 18 months.

Mr. Taha blatantly lied to Clayton & | for over 7 months.

I printed out the relevant text messages between Mr. Taha and myself and provided them to
Clayton Brown for his reference.

°°

Signature

Date Gof ( | adJ33

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Tue, Aug & at 1255 PY

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Tue, Avg bat 729 Me

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2/12/23, 10:27 AM Gmail - Clayton Brown

nw, Gmail - | Yousef Taha <youtaha1989@gmail.com>

Clayton Brown
4 messages

Mackenzie Stutzman <mstutzman@yatescounty.org> Fri, Aug 5, 2022 at 12:21 PM
To: Yousef Taha <yntaha@etksdefense.com>
Cc: Alicia Slate <aslate@yatescounty.org>

Attomey Taha,

There is no restitution and we would not oppose any request for programming if eligible. Wanted to reach out because !

Mr. Brown's offer of an SCI fo Grand Larceny 3"¢ with a plea to GL 4" in satisfaction and 2-4 years DOCCS remains.
see his is back in Court on Monday, ! wil! not be in Village Court, ADA Slate is covering.

. s

Thanks C ° og
s- S
Oo >

Mackenzie M. Stutzman e &
< =

First Assistant District Attorney /

Yates County District Attorney's Office —..
. “as
415 Liberty Street, Suite 240 &

Penn Yan, New York 14527

Tel: (315) 536-5550
Fax: (315) 536-5556

CONFIDENTIALITY NOTICE: This electronic message is intended to be viewed only by the individual or entity to whom it is addressed. It may
contain information that is privileged, confidential and exempt from disclosure under applicable law. Any dissemination, distribution or copying of this
communication is strictly prohibited without my prior permission. If the reader of this message is not the intended recipient, or the employee or agent
responsible for delivering the message to the intended recipient, or if you have received this communication in error, please notify me immediately
by return e-mail and delete the original message and any copies of it from your computer system.

Fri, Feb 10, 2023 at 10:31 AM
To: Todd Casella <tcasella@yatescounty.org>

District Attorney Casella-

Thank you again for the chat yesterday regarding my client, Clayton Brown. To confirm, and for my clarification as well as
my client's, your office is not amenable to a change in the plea offer, specifically a reduction to an attempted GL 4th ora
Petit Larceny? | also would respectfully request for your consideration of keeping the offer, as provided by ADA Stutzman
in the email above open and allowable to plea to on our next court date of February 15, 2023 at 9:45 am.

Thank you.

httns://mail.acoale.com/mail/u/0/7ik=c614650925&view=pt&search=all&permthid=thread-f%3A 17403389014 11145358&simpl=msg-f%3A17403388014... 1/2
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- 08-21~ F BSS0d: Frag 00486-JLS Document1i _—_— Filed 06/05/23 Ae Pods Job0s F-780

_, Mood and Affect: “not very good’/primarily polite, mildly irritable.
Speech & Language: normal rate, volume and production. Normal articulation. No dysarthria
Thought Process: circumstantial.
Thought Content: Denies SI, HI. Future orientation: would like to get out of jail, interested in starting

medication for hallucinations. -
erceptions: + AVH: reports that he hears voices telling that people are out to get him, that they are

going to pull a gun on him; reports that he sees “shadows”, no delusions voiced
ssociations: No loosening of associations

Orientation: A&Ox4

Recent and Remote Memory: recent memory is impaired.

Attention and Concentration: appropriate to interview

Fund of Knowledge/Intellect: average

Judgement and Insight: limited, limited

Assessment & Plan: Clayton was evaluated at the Yates County Jail for evaluation of suicidal ideation

Diagnoses:
Psychosis (F29)
Amphetamine Abuse (F15.10)

Recommendations:

Patient can be removed from 1:1 ; he denies feeling suicidal and has not plan to harm himself or
anyone else,

- Consider continuing 15 minute checks since pt says he does not feel “ready to go back to GP.”

- Consider starting Quetiapine 200 mg HS with possible uptitration to 100 mg during the day
depending on his response. —
Monitor for worsening psychosis (will likely improve with distance from last methamphetamine
use).
Encourage COVID vaccine, if not vaccinated.
Upon DC, Clayton would benefit from regular chemical dependency treatment.

Please call me at JOK if there are any additional questions about Clayton’s care.

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\(e- Bi i”
Kevin Brazil, poQ)
Psychiatrist
Medical Director, John D. Kelly Behavioral Health Center
Phone: (315) 531-2400

Fax: (315) 531-2463

A diplomate of the Americon Board of Psychiatry and Neurology and the American Board of Family Medicine
Fellow, American Psychiatric Association

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Case 1:23-cv-00486-JLS Document 1

Filed 06/05/23

Yates County Jail Progress note

Inmate Name: Claeg Ine. OTK,

DOB: ._ Alle

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Case 1:23-cv-00486-JLS Document1 Filed 06/05/23 Page 30 of 37

Date: 9/7/2022
Name: Brown, Clayton

Incarcerated individual came in for regular visit. He shared that he has started hearing things that
aren’t there; this had occurred before when he had been using drugs heavily but has been sober now for
some time. [He stated that it sounds like someone crying, and he will have conversations with someone
even though he suspects that it is not real. He stated that he could turn the TV all the way up and can

still hear them talking. The incarcerated individual shared that the voices are “mostly talking shit about
me” and that the voices are all different. F: did also state that he feels paranoid about others in his cell
block talking about him and isn’t sure if that is real or just the same issue] Writer recommends
increasing Seroquel; the incarcerated individual did not state any commands, SI, or HI from these
voices but will continue to monitor.

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Case 1:23-cv-00486-JLS Document1 Filed 06/05/23 Page 31 of 37

Date: 9/21/2022

Name: Brown, Clayton

Incarcerated individual came in for a regular visit] He stated that he is still hearing voices but he is
starting to notice a pattern. He stated that he will have a thought and then hear that thought as a voice
which has helped him recognize when it is happening] The incarcerated individual shared that he feels
way worse in the mornings before he has taken his medication; after he has taken his medication, he
begins to feel better and hears less of the voices. Writer recommends review by psychiatrist to
determine if increase or change in medication will help with voices.

Oaron dchork

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Case 1:23-cv-00486-JLS Document1 Filed 06/05/23 Page 32 of 37

Brown, Clayton
ROCH ESTER MRN: 6424814, DOB: 4/7/1991, Sex: M
Adon. 4/10/2022, DIC: 4/14/2022

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No family history on file.

Social History

“* Smoking status: Current Every Day Smoker

Packs/day: 0.25
: Never Used

Never assessed

Yes
Comment: reports 1 use within last week
* Drug use: Yes
“Fypes: Methamphetamines, Cocaine, Marijuana

Comment: reports 1 time use within last week

Sexual Activity

Review of Systems

120/6

81 80 69

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36.1 °C (97 °F) 36.6 °C (97.9 °F) 36.9 °C (98.4 °F)
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decisions.
Independent review. EKG
ED course details: 8:03 AM Sign out received from Dr. Kerley. Patient is a 31 year old male who | previously took care

of last week after he left inpatient chemical dependency for care of an axillary abscess.\He now presents hearing
voices, labile mood, and S/,\He admitted to still using drugs (heroin, amphetamines, cocaine, and huffing inhatants).

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Case 1:23-cv-00486-JLS Document1 Filed 06/05/23 Page 33 of 37

Brown, Clayton
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ED Provider Note {continued}

CPEP has evaluated the patient, and believe he would require hospitalization, he is awaiting an accepting facility.

History

This is a 31-year-old with history of polysubstance abuse and dependence, depression and anxiety and cocaine
induced MI who now presents for psychiairic evaluation. He has multiple complaints. States he was robbed earlier,
today and he does not know what to do. [He is hearing voices and paranoid and thinks everyone is talking about him.
if people say the wrong things he gets angry and lashes out at them. He states drugs are the only thing that makes
him feel better and that his life is hell and "what is the point’ he uses multiple substances including heroin,
methamphetamines and crack but his last use of these were 2 days ago however he was huffing duster earlier today.
He cut himself on his left arm but he not sure exactly when within the past few days. He was in rehab last week but
signed himself out. He does not necessarily want to hurt himself but states he cannot go on living like this and is
requesting to talk to psychiatry.

11:15 AM There is a bed now at CSH, will hospitalize here. Paperwork has been filled out.

Admission: The admitting physician was notified, case discussed, and futher patient care was handed off. | hada
detailed discussion with the patient and/or guardian regarding the historical points, exam findings, and any diagnostic
results supporting the admission diagnosis.

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Attestation

Vazzano, Alexander Paul, MD
04/11/22 1117

Electronically signed by Vazzano, Alexander Paul, MD at 4/11/2022 11:17 AM

H&P Notes

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H&P by Mead, James C, MD at 4/12/2022 0601 su saanaiicnaiasinanandcinaoreeannusiiis vss
Author: Mead, James C, MD ~ Service: Psychiatry Author Type: Physician
Filed: 4/12/2022 4:53 PM Date of Service: 4/12/2022 6:01 AM Status: Signed

Editor. Mead, James C, MD (Physician)

Date: 4/41/2022
Name: Clayton Brown, 31 y.o.

Printed on 3/9/23 14:39 AM Page 13
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Brown, Clayton
RO CH EST ER MRN: 6424814, DOB: 4/7/1991, Sex: M
pegs yu Adm: 4/10/2022, D/C: 4/14/2022
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Discharge Summary Note {continued}

Discharge Diagnoses: Anxiety and depression
Admission Condition: stable

Discharged Condition: good

Indication for Admission: Paranoia

Hospital Course: Patient presented to CSH&C ED voluntarily by police for psychiatric evaluation. He reparted he had
already been struggling with his mental health and then was robbed at gunpoint which he stated pushed him to his
breaking point. Patient presented with depressed, anxious, angry and sad mood and labile and tearful affect. Patient
presented with variable attention and memory and stated that "everything is a blur and flows together". Patient
reported he had not been sleeping, eating or caring for himself over the past week due to both his substance use and
mental health symptoms. He reported over the past week he has used Meth, Crack Cocaine, Marijuana and Heroin
and acknowledged inhaling duster today. He endorsed suicidal, self harming and homicidal thoughts, but denied

any current plan or in ont nthe unit patient presented with auditory hallucinations that appeared to be exacerbated
by his substance usej He was willing to engage in treatment and be re-started on medication. He was started on
Wellbutrin 300 mg daily, Seroquel 200 mg at bedtime, Hydroxyzine 25 mg TID PRN for anxiety, and Melatonin 6 mg
PRN for sleep. He was also continued on Suboxone. Patient is now presenting as fully alert with a clear, linear thought
process. He is able to engage in a productive conversation. He denies auditory hallucinations at this time. He also
denies S/l and H/l. Patient is able to contract for safety. He does become agitated about his discharge plan but is able
to maintain behavioral control despite this upset. He is advocating for discharge and is showing himself to be an
adequate self advocate. Patient is not presenting with any psychotic or depressive symptoms. He is not presenting as
a risk of harm to himself or anyone else. He is being discharged to his mothers friends house. He will be re-linked with
his outpatient providers on V1.

Consults: none

Significant Diagnostic Studies: none

Treatments: N/A

Disposition: Moms friend

Patient Instructions:

Current Discharge Medication List

CONTINUE these medications which have CHANGED

Spi seat ctl eas at
Place 1 Film under the tongue 3 (three) times a day. Max Daily Amount:

buprenorphine-naloxone 8-2 mg
SL Film SL film 3 Film. Indications: dependence on opioid-type drugs
Associated Diagnoses: Uncomplicated opioid dependence (CMS HCC Code)

buPROPion 300 MG Oral 24 hr Take 1 tablet by mouth daily for 30 days. Indications: anxiousness
EXT REL tab associated with depression
Qty: 30 tablet, Refills: 0
Associated Diagnoses: Anxiety and depression

hydrOXYzine 25 MG Oral tablet Take 1 tablet by mouth 3 (three) times daily as needed for Anxiety.
Qty: 75 tablet, Refills: 0

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Brown, Clayton
ROCH ESTER MRN: 6424814, DOB: 4/7/1991, Sex: M

Adm: 4/10/2022, DiC: 4/14/2022

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H&P Notes (continued)

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MRN: 6424814
DOB: 4/7/1891
Admit Date: 4/10/2022

Clayton Brown was seen and evaluated. Chart reviewed. He is a 31 y.o. male who presented to CSH&C ED voluntarily
by police for psychiatric evaluation. He reported he had already been struggling with his mental health and then was
robbed at gunpoint. Patient reported this pushed him to his breaking point and was subsequently admitted to Clifton
Springs inpatient mental health for treatment, safety and stabilization. Patient has a history of anxiety, depression,
mood disorder and polysubstance abuse with no prior psychiatric hospitalizations.

Per CPEP Evaluation:
Patient is a 31-year-old Caucasian male who was brought voluntarily by police to CSH ED for psychiatric evaluation.
Patient has history of anxiety, depression, mood disorder and polysubstance abuse. Patient reports he had already
been struggling but states he was robbed earlier in the day by someone with a gun who took his money and some
Marijuana. He reports he called the police for assistance as this incident triggered him, and states he knew he needed
to get help for his emotions and safety. He acknowledges knowing he needed to talk with someone before things got
worse. Patient reports experiencing increased mental health symptoms over the past few months. He reports recent
substance use which he acknowledges has also affected his mood. Patient presents with depressed, anxious, angry
and sad mood and labile and tearful affect, Patient presents with variable attention and memory and states that
"everything is a blur and flows together (Patient reports he has not been sleeping, eating or caring for himself over the
past week due to both his substance use and mental health symptoms |He reports over the past week he has used
Meth, Crack Cocaine, Marijuana and Heroin and acknowledges inhaling duster today. He denies any withdrawal
symptoms at this time, other than his increased mental health symptoms he is reporting. He states drugs are “the only
thing that make him feel better" and reports his “life is hell” and “what is the point”. He reports that "life is too hard” and
states he “can't go on living like this". He endorses suicidal, self harming and homicidal thoughts, but denies
any current plan or intent. He reports recent self harm and history of suicide attempts and states he doesn't want to be
dead, but can't live like this anymore. Patient reports he cut his forearm this week and has done this previously and
had thoughts of doing it again. He reports that he doesn't do this to kill himself, but instead to “stop the pain". He
reports he doesn't want to die, but “doesn't know what to do". He reports past suicide attempts including attempted
hanging while incarcerated as well as overdoses with susbtances. He reports his most recent overdose was last
month where he says he took four bags of Heroin, and states he was taken by ambulance to Strong. He reports no
specific individual he is wanting to hurt, but states that if someone angers him he will become violent. Patient reports
he has not been violent with others, but feels that this "can change at any minute". He reports when seen at Strong
last month he was restrained and medicated because he was going to harm someone. Patient reports he js impulsive
and is worried his thoughts and mood will get worse and states he does not trust himself to remain safe.|Patient
reports paranoid and persecutory delusions, and also acknowledges auditory and visual hallucinations reinforcing
these thoughts.|He reports that may of these symptoms are now new and have been “off and on", but states they have
worsened over the past few months.(He states that with his delusions he feels that others are constantly talking about
him, watching him and out to get him and often his family[He reports his hallucinations are related to_his delusions
and states he will see shadows and hear multiple voices telling him these things “are really happening" Patient does
not appear to be responding to internal stimuli at this time. Patient reports no history of inpatient psychiatric admission
or recent connection to outpatient mental health treatment. He reports he was recently in inpatient substance abuse
treatment, but left because that setting triggered his symptoms. He reports he is connected with outpatient substance
abuse treatment and is taking Suboxone at this time. He declines interest in inpatient rehab or detox at this time. He
reports he has been in and out of treatment before, but states he needs to be somewhere that “isn't jail or prison” that
he is “forced to stay and get help". He reports he knows he needs treatment and isn't safe and acknowledges he “can't
do this anymore’. He reports he has made up his mind that “no one is messing with him again” and states with his
current worsening symptoms and impulsivity Patient is not future oriented and is unable to identify any protective
factors or coping skills. Patient is unable to engage in safety planning. Patient is currently not linked to outpatient
mental health services but is linked with outpatient substance use treatment.

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GE,FLH (C/LIVE. MIS/341/SSMH) - NESBIT,ERICA

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Geneva General Hospital Soldiers and Sailors Memorial Hospital
136 North Street 418 North Main Street
Geneva, New York 14456 Penn Yan, New York 14527
(315} 787-4000 (315} 531-2000
PATIENT: BROWN, CLAYTON L
MR: M000385497 Account: ¥00236090858
Attending: SADEGHI,ROKHSANNA MD Date of Service: 06/16/22
Emergency Department Physician Report
**See Addendum**
History of Present Illness
General
Chief Complaint Hallucinations
Stated Complaint HALLUCINATIONS
Time Seen by MB 0513
Source patient, police, EMS
Exam Limitations clinical condition
Initial Comments
31-year-old male with a reported(history of schizophrenia and polysubstance abusiis brought to the ER
by EMS with law enforcement under a 2209. Reportedly the patient had called 91f himself earlier this
morning to report that he was at a residence where he was "tripping on meth." He reported to law
anforcament that he had a witnessed a woman trying to eat her baby and injecting the baby with
drugs. Patient reports to me that he saw skin changes on the baby where he was concerned over skin
popping and then saw the mother of the baby with lipstick and he felt like she was covering up the
lesion to hide it. When law enforcement was at the residence where the patient was staying, they
reported he was "all over the place." They did find and meth on him but no other druqs in the ¥
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(2) OE.FLH (C/LIVEMIS/341/SSMH) - NESBIT,ERICA

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‘home. “Reportedly the woman ‘in the home had asked him to leave 30 minutes prior to arrival-of the
police because of the erratic and hallucinatory behavior patient. The patient himself does admit to
using meth but does not use any other drugs last night. There is no report of chest irate child but law
enforcement indicated the patient did not appear able to care for himself and so was brought ta the ER
for evaluation. Patient reports he has used meth and LSD and cocaine.

Timing/Duration constant

Severity severe

Allergies

Coded Allergies:

No Known Drug Allergy (06/16/22)

Past Medical History
Medical History Polysubstance abuse

Psychosocial History schizophrenia
Significant Family History Unable to obtain from patient
Drugs herain

Review of Systems

Constitutional

denies: no symptoms reported.
Respiratory

denies: no symptoms reported.
Cardiovascular

denies: chest pain, palpitations.
Gastrointestinal

denies: abdominal pain, nausea, vomiting.
Psychiatric/ Neurological

reports: anxiety. denies: headache.

All Other Systems Reviewed and Negative

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TACT ~D

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